EXHIBIT 1
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Curriculum Vitae
Erik Richard Dubberke, MD, MSPH
                                                CURRICULUM VITAE

                                  Erik Richard Dubberke, MD, MSPH, FSHEA, FIDSA

DATE: December 26, 2018

PERSONAL INFORMATION
                                  Date of Birth: February 10, 1973
                                  Place of Birth: Chicago, IL

CITIZENSHIP                       U.S.A

ADDRESS          Office:          4523 Clayton Ave. Box 8051
                                  Saint Louis, MO 63110
                                  (314) 454-8296 (work)
                                  (314) 483-7099 (pager)
                                  (314) 454-5392 (fax)
                                  edubberk@wustl.edu

                 Home:            1419 Lindgate Dr.
                                  St. Louis, MO 63122


PRESENT POSITION                  Professor of Medicine
                                  Infectious Diseases Division
                                  Department of Medicine
                                  Washington University School of Medicine

EDUCATION
1991-1995 B.A.                    Augustana College, Rock Island, IL: Major-biology, Minor-biochemistry
1995-1999 M.D.                    University of Illinois at Chicago College of Medicine, Rockford Campus,
                                  Rockford, IL: Medicine
2003-2008        M.S.P.H          St. Louis University School of Public Health, St. Louis, MO: Epidemiology

POSTGRADUATE TRAINING
1999-2000           Medicine Internship
                    Washington University School of Medicine, Barnes-Jewish Hospital, St. Louis,
                    MO
2000-2002           Medicine Residency
                    Washington University School of Medicine, Barnes-Jewish Hospital, St. Louis,
                    MO
2002-2005           Infectious Diseases Fellowship
                    Washington University School of Medicine, Barnes-Jewish Hospital, St. Louis,
                    MO

ADDITIONAL TRAINING
Fall 2003                         Designing Outcomes and Clinical Research Course
                                  Department of Internal Medicine
                                  Washington University School of Medicine
Spring 2004                       Strategies for Successful Grant Proposals
                                  Academic Publishing Department
                                  Washington University School of Medicine
Spring 2005                       SHEA/CDC Hospital Epidemiology Training Course

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Curriculum Vitae
Erik Richard Dubberke, MD, MSPH
Summer 2006                       Studied in laboratory of Dr. Dale Gerding, Professor of Medicine, Loyola
                                  University School of Medicine, Associate Chief of Staff, Hines VA Hospital,
                                  learning C. difficile culturing and typing techniques
2005-2007                         K30 Mentored Training Program in Clinical Research: mentor: Bradley Evanoff,
                                  MD

ACADEMIC POSITIONS:
2005-2007                         Instructor, Department of Medicine, Washington University School of Medicine
2007-2013                         Assistant Professor, Department of Medicine, Washington University School of
                                  Medicine
2013-2018                         Associate Professor, Department of Medicine, Washington University School of
                                  Medicine
2018                              Professor, Department of Medicine, Washington University School of Medicine

UNIVERSITY APPOINTMENTS AND COMMITTEES
2001-Present         Member, Infection Control Committee, Barnes-Jewish Hospital
2003-2005            Infectious Diseases Fellowship Program Evaluation Committee, Washington
                     University School of Medicine
2004-Present         Member, Antibiotic Utilization Review Subcommittee, Barnes-Jewish
                     Hospital
2005-Present         Research Associate Member in the Translational and Clinical Research Program,
                     Siteman Cancer Center
2007-Present         Intern Selection Committee, Department of Medicine, Washington University
                     School of Medicine
2007-Present         Member, Washington University Institute for Clinical and Translational Sciences
2009-Present         Full Member, Washington University Digestive Diseases Research Core Center
2011-Present         Transplant Steering Committee, Barnes-Jewish Hospital


MEDICAL LICENSURE AND CERTIFICATION
2000                 National Board of Medical Examiners [steps 1, 2 and 3 passed]
2001-present         State of Missouri Medical License
2002, 2012           Board Certified, American Board of Internal Medicine, Internal Medicine
                     [recertification in 2022]
2004, 2014           Board Certified, American Board of Internal Medicine, Infectious Diseases
                     [recertification in 2024]

HONORS AND AWARDS
Undergraduate:
1992                              Aristiae Freshman Honor Society
1992-1995                         Dean’s List
1991-1995                         Presidential Scholarship
1995                              Phi Beta Kappa
1995                              Summa cum laude

Graduate School:
2008                              Golden Key National Honor Society
2008                              Alumni Association Academic Achievement Award

Medical School:
1996                              American Society of Clinical Pathologists’ Award for Academic Excellence and
                                  Achievement
1998-1999                         Illinois General Assembly Scholarship
1998                              Alpha Omega Alpha
                                                                                                                 2
Curriculum Vitae
Erik Richard Dubberke, MD, MSPH
1999                              Outstanding Performance on Surgery Award
1999                              James Scholar Award for Outstanding Research Project
1999                              Dr. Charles Williamson Award for Excellence in Medicine
1999                              Graduated with Honors (awarded to top two graduates)

Residency:
1999                              Barnes-Jewish Hospital Caring Spirit Award

Fellowship:
2004-2006                         Loan Repayment Program, National Institutes of Health
2004                              Travel Grant Award, Infectious Diseases Society of America
2005                              Trainee Award, Society for Healthcare Epidemiology of America
2005                              Travel Grant Award, Infectious Diseases Society of America

Faculty:
2007-2008                         Loan Repayment Program, National Institutes of Health
2008-2009                         Loan Repayment Program, National Institutes of Health
2009-2011                         Loan Repayment Program, National Institutes of Health
2009                              Clinical Infectious Diseases Award for Outstanding Review
2012                              Rochester General Hospital Association Teaching Fellowship
2013                              Fellow, Society for Healthcare Epidemiology of America
2015                              Fellow, Infectious Diseases Society of America
2015-Present                      Best Doctors in America
2015-Present                      Highly Cited Researcher, Web of Science, Clarivate Analytics
2016                              Society for Healthcare Epidemiology of America Mid-Career Scholar Award


EDITORIAL RESPONSIBILITIES
                       Ad hoc
                       Advances in Hematology (2010)
                       American College of Physicians Physician’s Information and Education
                               Resource (PIER) (2007-2009)
                       American Family Physician (2012)
                       American Journal of Infection Control (2005, 2012-2015)
                       American Journal of Transplantation (2007-2010)
                       American Society of Hematology Education Program Book (2004)
                       Anaerobe (2013, 2018)
                       Annals of Internal Medicine (2011-2012)
                       Bone Marrow Transplantation (2009)
                       Clinical Gastroenterology and Hepatology (2011)
                       Clinical Infectious Diseases (2007-2018)
                       Clinical Microbiology and Infection (2009)
                       Emerging Infectious Diseases (2011)
                       European Journal of Clinical Microbiology and Infectious Diseases (2012)
                       Expert Review of Anti-Infective Therapy (2013)
                       Infection Control and Hospital Epidemiology (2007-2018)
                       Intensive Care Medicine (2007)
                       JAMA Internal Medicine (2015)
                       Journal of the American Medical Association (2008-2017)
                       Journal of Clinical Microbiology (2008-2014)
                       Journal of Infectious Diseases (2012)
                       Lancet ID (2013-2016)
                       Leukemia and Lymphoma (2008)
                       Mayo Clinic Proceedings (2014)
                                                                                                            3
Curriculum Vitae
Erik Richard Dubberke, MD, MSPH
                                  New England Journal of Medicine (2012-2016)
                                  Pharmacotherapy (2007)
                                  Pharmacy and Therapeutics (2006)
                                  Transplant Infectious Disease (2010-2012)
                                  Vaccine (2015)

                                  Editorial Board
                                  Infection Control and Hospital Epidemiology (2011-2018)

                                  Peer Reviewer
                                  UpToDate, C. difficile infection (2018-present)

NATIONAL and INTERNATIONAL SCIENTIFIC PANELS
2010                  Department of Veterans Affairs, Cooperative Studies Program, peer reviewer
2011                  Study section ZRG1 PSE B (90)A, SRO Fungai Chanetsa, PhD, peer reviewer
2012                  Health Protection Agency, United Kingdom, SRDF 2011/12 – SRDF 027, peer
                      reviewer
2012-2014             Chimerix, protocol CMX001-350, central adjudication committee member
2014                  Pfizer, Advancing Science through Pfizer-Investigator Research Exchange
                      (ASPIRE), peer reviewer
2016                  University of Western Australia, Doctor of Philosophy candidate Deirdre Anne
                      Collins, Examiner
2015-Present          Department of Veterans Affairs, Cooperative Studies Program, Optimal
                      Treatment for Recurrent Clostridium difficile Infection, CSP #596, Data
                      Monitoring Committee member
2017-Present          American Gastroenterology Association, FMT National Registry, Observational
                      Study Monitoring Board member
2018-Present          Combatting Bacterial Resistance in Europe - Clostridium Difficile Infections
                      (COMBACTE-CDI), Scientific Advisory Board
2018-2019             11th International Conference on the Molecular Biology and Pathogenesis of the
                      Clostridia (ClostPath 11), International Scientific Committee member
2018                  Medical College of Wisconsin Advancing a Healthier Wisconsin Endowment,
                      peer reviewer
2018-2019             C. diff Foundation, 7th Annual International C. diff Conference and Health Expo,
                      co-chair


PROFESSIONAL SOCIETIES AND ORGANIZATIONS
2002-Present         Member, Infectious Diseases Society of America (IDSA)
                         2012-Present: Clinical Practice Guidelines for Clostridium difficile
                           Infection Update Committee
                         2015: Fellow, IDSA
2004-Present         Member, Comprehensive Cancer Centers Infection Control Group
2005-Present         Member, Society for Healthcare Epidemiology of America (SHEA)
                         2007, 2013: SHEA Hospital Acquired Infection Compendium Taskforce
                         2007-2011: Annual Meeting Planning Committee
                         2007: Annual Meeting, Moderator, Clostridium difficile oral abstracts
                         2008-2009; 2010-2011: Chair, Annual Meeting Awards Committee
                         2009: SHEA representative, Key Informant, AHRQ Minnesota Evidence-
                           based Practice Center, C. difficile review
                         2010 Decennial Meeting, Moderator, C. difficile oral abstracts
                         2011-2014: SHEA Awards Committee, Chair
                         2011-2013: SHEA Education Committee
                                                                                                         4
Curriculum Vitae
Erik Richard Dubberke, MD, MSPH
                                         2012: ID Week planning committee, abstract reviewer, and moderator
                                         2013: ID Week moderator
                                         2013: SHEA Member Spotlight, November 2013
                                         2013: Fellow of SHEA
                                         2014: ID Week moderator
                                         2014: ID Week abstract reviewer
                                         2014: ID Week poster rounds group leader: Clostridium difficile,
                                          Healthcare Environment
                                       2014-2016: Chair, SHEA Journal Club
                                       2015: ID Week abstract reviewer
                                       2015: ID Week poster rounds group leader: Clostridium difficile
                                       2017: SHEA representative at the XVIII Congress of the Asociacion
                                          Panamericana de Infectologia
                                       2019: Co-Chair, Prevention CHKC CME course
2005-Present                      Member, American Society of Transplantation
                                       2009 Senior author, Infectious Diseases Guidelines 2nd edition,
                                          Clostridium difficile
                                       2009 Annual Meeting Abstract Reviewer
                                       2010 Annual Meeting Abstract Reviewer
                                       2012 Senior author, Infectious Diseases Guidelines 3rd edition,
                                          Clostridium difficile
2006-Present                      Member, Site-PI, Mycosis Study Group
2013-Present                      Member, European Society for Clinical Microbiology and Infectious Diseases
                                       2015: ECCMID abstract reviewer
                                       2016: ECCMID abstract reviewer
                                       2017: ECCMID abstract reviewer
                                       2018: ECCMID abstract reviewer
                                       2018-Present: C. difficile study group member
2014-Present                      International Clostridium difficile Symposium Planning Committee

INVITED PROFESSORSHIPS AND LECTURESHIPS
June 2005            Infectious Diseases: Common Problems, Practical Answers, St. Louis, MO –
                     Recurrent C. difficile-associated Disease
Sept 2005            Missouri Baptist Medical Center, Medicine Grand Rounds, St. Louis, MO – C.
                     difficile-associated Disease: The Best Treatment is Prevention
Nov 2005             What’s New, What’s Hot, and What’s Back in Infections Diseases, St. Louis, MO
                     – Infective Endocarditis
Nov 2005             Galaxy of Gastroenterology IV, St. Louis, MO – Treatment of C. difficile-
                     associated disease
Jan 2006             Cape Girardeau Medical Society 9th Annual Infectious Diseases Update - C.
                     difficile-associated disease: the Good, the Bad, and the Messy
Feb 2006             St. Louis Regional Association for Professionals in Infection Control (APIC)
                     Conference – Prevention of C. difficile-Associated Disease
Mar 2006             Gastroenterology Symposium, St. Mary’s Medical Center, Evansville, IN –
                     Infections of the Gastrointestinal Tract
Apr 2006             Boone County Medical Center, Columbia MO – Clostridium difficile Colitis
Sept 2006            Medicine Grand Rounds, St. Luke’s Medical Center, Chesterfield, MO –
                     Difficulties with Clostridium difficile
Oct 2006             Critical Care Grand Rounds, St. John’s Medical Center, Creve Coeur, MO –
                     Trends, Diagnosis, and Treatment of Clostridium difficile
Oct 2006             Medical Staff Symposium, Monongahela Valley Hospital, Monongahela, PA –
                     Clostridium difficile Colitis

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Curriculum Vitae
Erik Richard Dubberke, MD, MSPH
Nov 2006                          Central Illinois Regional Association for Professionals in Infection Control (APIC)
                                  conference, Bloomington, IL – Preventing Clostridium difficile
Nov 2006                          Medicine Grand Rounds, Deaconess Hospital, Evansville, IN - Reexamining
                                  Treatment Practices for Complicated C. difficile-Associated Disease
Feb 2007                          Infectious Diseases Update, Boone County Hospital, Columbia, MO-Clostridium
                                  difficile Colitis Review
Apr 2007                          American College of Physicians Annual Meeting, Satellite Symposium, San
                                  Diego, CA – The Changing Epidemiology of Clostridium difficile and Identification
                                  of Toxin Variant Strains
Sept 2007                         Critical Care Grand Rounds, St. John’s Medical Center, Creve Coeur, MO –
                                  UPDATE: Trends, Diagnosis, and Treatment of Clostridium difficile
Sept 2007                         Central Ohio Regional Association for Professionals in Infection Control (APIC)
                                  conference, Blacklick, OH - Reexamining Treatment Practices for Complicated C.
                                  difficile-Associated Disease
Sept 2007                         Interscience Conference on Antimicrobial Agents and Chemotherapy (ICAAC),
                                  47th Annual meeting, Chicago, IL – Varicella Zoster Virus on a Bone Marrow
                                  Transplant Unit
March 2008                        Medicine Grand Rounds, Barnes-Jewish Hospital, Washington University School
                                  of Medicine, St. Louis, MO – Clostridium difficile Infections: The Best Treatment
                                  is Prevention
April 2008                        Society for Healthcare Epidemiology of America Annual Meeting, Orlando, FL –
                                  Meet the Consultant: Clostridium difficile Infection
April 2008                        Medicine Grand Rounds, University of South Dakota, Sanford School of
                                  Medicine, Sioux Falls, SD – Difficulties with Clostridium difficile
May 2008                          Association for Professionals in Infection Control (APIC) Webinar Series –
                                  Clostridium difficile: Tracking Transmission
June 2008                         Association for Professionals in Infection Control (APIC) Annual Meeting,
                                  Satellite Symposium, Denver, CO – Clostridium difficile Infection: Surveillance
                                  and Diagnosis
Nov 2008                          Clostridium difficile: A Call to Action, Special Conference, Association for
                                  Professionals in Infection Control (APIC), Orlando, FL – The Clinical and
                                  Financial Impact of Clostridium difficile in Healthcare Facilites
March 2009                        Society for Healthcare Epidemiology of America Annual Meeting, San Diego, CA
                                  – Meet the Consultant: Clostridium difficile Infection
March 2009                        Society for Healthcare Epidemiology of America Annual Meeting, San Diego, CA,
                                  C. difficile and the Role of the Environment Symposium – Implementing Effective
                                  CDI Prevention Programs
April 2009                        Annual Meeting of Clinical Pharmacists, Satellite Symposium, Orlando, FL –
                                  Changing Epidemiology and Economic Burden of Clostridium difficile
April 2009                        Springfield Area Regional Association for Professionals in Infection Control
                                  (APIC) conference, Springfield, MO – Prevention of Clostridium difficile Infection
November 2009                     GASTRO 2009, 1st Annual Joint Meeting of the United European
                                  Gastroenterology Federation (UEGF), World Gastroenterology Organisation
                                  (WGO), World Organisation of Digestive Endoscopy (OMED) and British Society
                                  of Gastroenterology (BSG), London, England – Clostridium difficile: The Most
                                  Rapidly Rising Pathogen?
March 2010                        5th Decennial International Conference on Healthcare-Associated Infection, Joint
                                  Meeting of the Society for Healthcare Epidemiology of America, Centers for
                                  Disease Control and Prevention, Association for Professionals in Infection
                                  Control, and the Infectious Diseases Society of America, Atlanta, GA -
                                  Prevention of Healthcare-Associated C. difficile: What Works?
March 2010                        5th Decennial International Conference on Healthcare-Associated Infection, Joint
                                  Meeting of the Society for Healthcare Epidemiology of America, Centers for
                                  Disease Control and Prevention, Association for Professionals in Infection
                                                                                                                     6
Curriculum Vitae
Erik Richard Dubberke, MD, MSPH
                                  Control, and the Infectious Diseases Society of America, Atlanta, GA – Infection
                                  Control for Immunocompromised Patients
July 2010                         International Conference on Emerging Infectious Diseases, Atlanta, GA -
                                  Emerging bacterial infections and transplantation, including Clostridium difficile
October 2010                      Colorado Infection Prevention Collaborative, Denver, CO – Clostridium difficile
                                  Infection: Preventing the Most Common Healthcare-Associated Infection
October 2010                      Infectious Diseases Society of America Annual Meeting, Vancouver, BC - . C.
                                  difficile: What’s New with Prevention and Treatment
November 2010                     Illinois Clostridium difficile Infection Quality Improvement Kick-Off Meeting,
                                  Collinsville, IL – Diagnosing and Preventing Clostridium difficile Infection
March 2011                        Beef Industry Safety Summit, Dallas, TX – You are What You Eat: Clostridium
                                  difficile and You
April 2011                        Society for Healthcare Epidemiology of America Annual Meeting, Dallas, TX –
                                  What’s in a Name? Does Which We Call Clostridium difficile Infection by any
                                  other name Smell as Sweet?
May 2011                          American Society of Microbiology Annual Meeting, New Orleans, LA – Update on
                                  C. difficile Epidemiology and Pathogenesis: Implications for the Healthcare
                                  Setting
July 2011                         Society for Healthcare Epidemiology of America, 15th Annual Fellows Course in
                                  Hospital Epidemiology, Baltimore, MD – Gastrointestinal Diseases including C.
                                  difficile and Norovirus
August 2011                       Society for Healthcare Epidemiology of America, Healthcare Associated Infection
                                  Regional Training, Region 5, Chicago, IL – Preventing Clostridium difficile
                                  Infection
September 2011                    Interscience Conference on Antimicrobial Agents and Chemotherapy, Chicago,
                                  IL – Clostridium difficile in the Community
September 2011                    Medicine Grand Rounds, Barnes-Jewish Hospital, Washington University School
                                  of Medicine, St. Louis, MO – Clostridium difficile in the 21st Century
May 2012                          Rochester General Hospital Association Teaching Fellowship, Rochester, NY –
                                  Advances in Clostridium difficile Infection
May 2012                          St. Louis chapter of Society for Hospital Medicine, St. Louis, MO – Clostridium
                                  difficile Infection Update
July 2012                         The 9th National Seminar on Infection Control, Rayong, Thailand – Infection
                                  Control Emergencies In Transplant Recipients
July 2012                         The 9th National Seminar on Infection Control, Rayong, Thailand – Clostridium
                                  difficile Microbiology
July 2012                         The 9th National Seminar on Infection Control, Rayong, Thailand – Clostridium
                                  difficile Epidemiology and Prevention
July 2012                         The 9th National Seminar on Infection Control, Rayong, Thailand – Infection
                                  Control in Transplant Recipients
August 2012                       Infectious Diseases Society of St. Louis, St. Louis, MO – Challenges of
                                  Clostridium difficile Infection
November 2012                     12th Annual Infectious Diseases Conference, Washington University School of
                                  Medicine, St. Louis, MO – Evidence Based Management of Invasive Fungal
                                  Infections
November 2012                     Clostridium difficile Expert Meeting, Tokyo, Japan – Clostridium difficile
                                  Epidemiology in the United States
November 2012                     Clostridium difficile Infectious Diseases Study Group, Kyoto, Japan, - Clostridium
                                  difficile Infection Surveillance in the United States and Impact of Testing
March 2013                        Association for Professionals in Infection Control an Epidemiology (APIC)
                                  Clostridium difficile Educational and Consensus Conference, Baltimore, MD –
                                  Current Research and Limitations Related to Clostridium difficile
April 2013                        Health Care Excel QIO, Kentucky Improve Individual Patient Care AIM,
                                  Louisville, KY – Prevention of Clostridium difficile Infection
                                                                                                                     7
Curriculum Vitae
Erik Richard Dubberke, MD, MSPH
April 2013                        Health Care Excel QIO, Indiana Improve Individual Patient Care AIM,
                                  Indianapolis, IN – Clostridium difficile Infection Prevention
April 2013                        Beijing International Forum on Infection Control, Beijing, China – International
                                  Practices on Diagnosis, Treatment, and Prevention of Clostridium difficile
                                  Infection
April 2013                        Guangzhou Regional Congress, Guangzhou, China – Diagnosis and
                                  Management of Clostridium difficile Infection
May 2013                          Society for Healthcare Epidemiology of America (SHEA) Spring 2013 Conference
                                  – Sporicidal Agents for Environmental Disinfection, Con: Not Important in the
                                  Control of Clostridium difficile
October 2013                      ID Week, Annual Joint Meeting of the Infectious Diseases Society of America,
                                  the Society for Healthcare Epidemiology of America, HIV Medical Association,
                                  and Pediatric Infectious Diseases Society – Diagnosis of Clostridium difficile
                                  Infection in Children
October 2013                      Bi-State Infectious Diseases Conference, St. Louis, MO – Clostridium difficile
                                  Infections
February 2014                     CDI17 Kick-off Meeting, National Institute of Infectious Diseases, Tokyo, Japan –
                                  Update of Clostridium difficile Epidemiology: A Global Perspective
February 2014                     Medicine Grand Rounds, Missouri Baptist Medical Center, St. Louis, MO –
                                  Clostridium difficile Infection Update
March 2014                        Washington University Medicine Resident Conference, St. Louis, MO –
                                  Recurrent Clostridium difficile Infection
March 2014                        Otolaryngology Grand Rounds, Washington University, St. Louis, MO – Current
                                  Updates and Management of Clostridium difficile Infection
May 2014                          American Society of Clinical Oncology Annual Meeting, Chicago, IL – Clostridium
                                  difficile Infection: Minimizing the Impact
July 2014                         World Transplant Congress Annual Meeting, San Francisco, CA – Clostridium
                                  difficile Infection in Transplantation
October 2014                      ID Week, Annual Joint Meeting of the Infectious Diseases Society of America,
                                  the Society for Healthcare Epidemiology of America, HIV Medical Association,
                                  and Pediatric Infectious Diseases Society – Pro: Reducing C. difficile Cross-
                                  transmission in Healthcare Facilities is the Most Effective Means of Preventing C.
                                  difficile Infection
May 2015                          5th International Clostridium difficile Symposium, Bled, Slovenia – Clostridium
                                  difficile Transmission and Future Prevention Strategies
July 2015                         The 12th National Seminar on Infection Control, Pattaya, Thailand – Clostridium
                                  difficile Infection: What the Infection Preventionist Should Know
July 2015                         The 12th National Seminar on Infection Control, Pattaya, Thailand – Infection
                                  Control In Transplant Patients
July 2015                         The 12th National Seminar on Infection Control, Pattaya, Thailand – Surgical Site
                                  Infection and Catheter Associated Urinary Tract Infection Surveillance: NHSN
                                  Definitions and Updates
July 2015                         The 12th National Seminar on Infection Control, Pattaya, Thailand – Surgical Site
                                  Infections In Uncommon Procedures
Nov 2015                          13th Galaxy of Gastroenterology, St. Louis, MO – C. difficile: Reducing
                                  Recurrences
Mar 2016                          Vanderbilt University School of Medicine, Medicine Grand Rounds, Nashville, TN
                                  – Clostridium difficile Infection: Past, Present, and Future
Apr 2016                          European Congress on Clinical Microbiology and Infectious Diseases,
                                  Amsterdam, The Netherlands, Integrated Symposium – Epidemiology of C.
                                  difficile Infection and Recurrent C. difficile Infection
Apr 2016                          Visiting Professor, Lieden University, Leiden, the Netherlands; Host: Prof. Dr. Ed
                                  Kuijper

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Curriculum Vitae
Erik Richard Dubberke, MD, MSPH
May 2016                          The Society for Healthcare Epidemiology of America Spring Conference, Atlanta,
                                  GA – CON: Alcohol Hand Rub is Fine for Prevention of Clostridium difficile
                                  Infection
May 2016                          Digestive Diseases Week, San Diego, CA - Risk Factors for Clostridium difficile
                                  Infection and Preventive Practice in 2016
July 2016                         C. difficile Reduction Quality and Safety Summit, Mercy Healthcare, Chesterfield,
                                  MO – The Biology of C. difficile
July 2016                         Anaerobe Society of America Congress, Nashville, TN – Safety and Efficacy
                                  RBX2660 for Recurrent Clostridium difficile Infection
Oct 2016                          American College of Gastroenterology Annual Scientific Meeting, Las Vegas, NV
                                  – Treating a Difficile Problem: Current Status
Oct 2016                          IDWeek, New Orleans, LA – The Role of the Stewardship Team in the
                                  Management of Clostridium difficile Infection
May 2017                          Digestive Diseases Week, Chicago, IL – The Gut Microbiome and Clostridium
                                  difficile
May 2017                          XVIII Congress of the Asociacion Panamericana de Infectologia, Panama City,
                                  Panama – Management and Prevention of Clostridium difficile Infection
May 2017                          XVIII Congress of the Asociacion Panamericana de Infectologia, Panama City,
                                  Panama – Best Intervention Ever
Jul 2017                          21st Annual Fellows’ Course in Healthcare Epidemiology, Infection Prevention,
                                  and Antimicrobial Stewardship, Providence, RI – Prevention of Clostridium
                                  difficile Infection and Other Causes of Diarrhea
Jul 2017                          21st Annual Fellows’ Course in Healthcare Epidemiology, Infection Prevention,
                                  and Antimicrobial Stewardship, Providence, RI – Infection Prevention Strategies
                                  for Immunocompromised Hosts and Fungal Disease
Aug 2017                          Illinois Health and Hospital Association, C. diff Improvement Action Network,
                                  Naperville, IL – Prevention of Clostridium difficile Infection
Aug 2017                          Midwest Alliance for Patient Safety, Naperville, IL – Optimizing Patient Safety:
                                  Diagnosis, Treatment, and Prevention of Clostridium difficile Infection
Sept 2017                         CDC, Microbiome Indices for Antibiotic Resistance Outcomes Meeting, Atlanta,
                                  GA – Microbiome Indices, Regulatory Hurdles and Levels of Evidence: From the
                                  Bench to Improving Patient Outcomes
Oct 2017                          IDWeek, San Diego, CA – Clostridium difficile Infection: Focus on Prevention
Oct 2017                          15th Galaxy of Gastroenterology, St. Louis, MO – Fecal Microbiota
                                  Transplantation: A Clinician’s Guide
Sept 2018                         NIAID, Vaccines Against C. difficile Infection: A Roadmap to the Future,
                                  Bethesda, MD – Clostridium difficile Infection: Current Control Measures
Sept 2018                         NIAID, Vaccines Against C. difficile Infection: A Roadmap to the Future,
                                  Bethesda, MD – Clostridium difficile Infection: Targeting Populations for
                                  Vaccination
Oct 2018                          IDWeek Premeeting Workshop, San Francisco, CA - Use of Fecal Microbiota
                                  Transplantation (FMT) Beyond Recurrent C. difficile
Oct 2018                          IDWeek, San Francisco, CA – Fecal Microbiota Transplants in Infectious
                                  Diseases
Apr 2019                          Society for Healthcare Epidemiology of America Annual Spring Meeting, Boston,
                                  MA – The Future of Clostridioides difficile infection Prevention
May 2019                          Rush University Medical Center Department of Internal Medicine Grand Rounds,
                                  Chicago, IL – Clostridioides difficile Infection Guideline Update: Understanding
                                  the Data Behind the Recommendations
Oct 2019                          University of Montreal College of Pharmacy 100 Year Anniversary Centennial
                                  Keynote Lecture day on the Microbiome, Montreal, Quebec, Canada - Emerging
                                  Prevention Strategies for Clostridioides difficile infection: What Does the Future
                                  Hold?

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Curriculum Vitae
Erik Richard Dubberke, MD, MSPH


BOARD MEMBERSHIPS
2006-Present                      National Comprehensive Cancer Center Network (NCCN), Prevention and
                                  Treatment of Cancer-Related Infections Guideline Committee

RESEARCH SUPPORT
  A. Governmental
        a. Past support
           Prevention Epicenters Program: UR8/CCU715087-03 (PI: Fraser) – CDC: 1/20/01 – 1/20/06;
           investigator

                 Clostridium difficile-associated disease: UR8/CCU715087-06/1 (PI: Fraser) – CDC: 9/01/04-
                 1/31/07; investigator

                 Washington University Institute of Clinical and Translational Sciences; Research Education,
                 Training and Career Development (formerly K12 Multidisciplinary Clinical Research Career
                 Development Program): 1 UL1 RR024992-01 (PI: Polonsky); 1 KL2 RR024994-01 (PI: Fraser)
                 (formerly 1K12RR02324901 (PI: Fraser)) – NCRR: 9/01/07 – 5/31/12; scholar (2 year
                 commitment)

                 Mortality in Transplant patients with Aspergillosis: K23AI064613 (PI: Baddley) 9/1/07 to 8/31/10;
                 subcontract

                 Dynamics of Clostridium difficile transmission and infection control measures in health-care
                 settings: Food and Waterborne Diseases Integrated Research Network, N01-AI-30054 (PI:
                 Grohn) – NIAID: 6/30/09 to 9/30/10; subcontract, site PI

                 Prevention Epicenters Program: 1UO1CI000333-01 (PI: Fraser) – CDC: 1/20/06-1/20/11;
                 investigator

                 Invasive fungal infections in ultra-high-risk transplant recipients: 5U01CI000283-03 (PI: Silveria,
                 UPMC) – CDC: 9/1/04-8/31/09; sub contract, site PI

                 C. difficile Disease in Stem Cell Transplant Recipients: 1K23AI065806-01A2 (PI: Dubberke) –
                 NIAID: 2/1/09 – 1/31/12; Primary investigator

                 Validation and Modeling of a C. difficile Infection Risk Prediction Index: 1R21NR011362-01 –
                 NINR: 7/01/09 – 6/30/11; Primary Investigator

                 Clostridium difficile Infection: Redefining the Role of the Asymptomatic Host: P30 DK52574 (PI:
                 Davidson) – NIDDK: 5/1/10 to 4/30/11 and 5/1/11 to 4/30/12; pilot and feasibility award

                 Surgical Site and Clostridium difficile Infections after Ambulatory Surgery: R01 HS019713
                 (Olsen; PI) – AHRQ: 10/1/10 – 9/30/13; investigator

                 Organ Transplant Infection Detection and Prevention Program: 1U01CK000134-01 (PI: Silveria,
                 UPMC) – CDC: 9/1/10-8/29/15; sub contract, site PI

                 Use of Needleless Connectors to Prevent Bloodstream Infections in Hemodialysis: CDC Task
                 Order 200-2011-42070-002 (PI: Dubberke) – CDC: 8/1/2013 – 4/1/2015

                 Prevention Epicenters Program: 1U54CK000162-01 (PI: Fraser) – CDC: 3/1/2011-02/29/2016;
                 investigator

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Curriculum Vitae
Erik Richard Dubberke, MD, MSPH
                 Studies to Prevent Infections and Protect Healthcare Workers in Hospitals: 3U54CK000162-
                 05S1 (PI: Fraser) – CDC: 4/1/2015-2/29/16

                 Fecal Microbiome Restoration after Antimicrobials with Autologous Fecal Microbiota Therapy:
                 3U54CK00162-03S1 (PI: Dubberke) – CDC: 8/15/2013 – 8/14/2014

                 Impact of Fecal Transplantation on Resistant Organism Carriage and the Resistome:
                 3U54CK000162-04S1 (PI: Dubberke) – CDC: 9/1/14 – 8/31/15

                 Intestinal Metabolomic Factors Affecting Clostridium difficile Colonization and Infection:
                 CDC Broad Agency Announcement 200-2016-91965 (PI: Henderson) – CDC: 9/30/2016 –
                 9/29/2017; investigator

                 Prospective Study Characterizing Fecal Microbiome Disruptions During and After Receipt of
                 Antimicrobials: CDC Broad Agency Announcement 200-2016-91962 (PI: Kwon) – CDC:
                 9/30/2016 – 9/29/2017; investigator

                 Modeling and Control of Environmentally Transmitted Pathogens:
                 R01GM113239 (PI: Lanzas) – NIGMS: 8/1/14 – 4/30/19; sub contract, investigator

             b. Current Support
                Clostridium difficile Nucleic Acid Amplification Test Cycle Threshold Value Associated
                Environmental Contamination (CONTAM Study): 200-2018-02926, CDC 10/1/18 – 9/30/19; PI

                 Double blinded, randomized controlled Trial of Oral vancomycin versus placebo in hospitalized
                 patients with diarrhea and stool toxin negative but nucleic acid amplification test positive for
                 toxigenic Clostridium difficile (TOX NEG trial): 200-2017-96178; CDC 09/30/17 – 09/29/18; PI

                 Understanding and Preventing Clostridium difficile Transmission from Asymptomatically
                 Colonized Patients: R01 HS025456-01 (PI: Morgan) – AHRQ: 8/1/17 to 5/31/2021; site PI

                 Washington University & BJC Epi-Center for Prevention of Healthcare Associated Infections:
                 1U54CK000482 (PI: Fraser); CDC: 07/01/16 – 6/30/2020; investigator
                       Predictors of Recurrent Multidrug Resistant UTI and Impact of FMT on Recurrence: (PI:
                       Dubberke); CDC 07/01/16 – 6/30/2020; project PI

                 Multicenter Collaborative Project: MAriMbA: The Microbiome and Mdro Acquisition Project:
                 U54CK000481 (PI: Hayden); CDC 07/01/16 – 6/30/2020; site PI



        B. Non-governmental
            a. Past support
               A Randomized, Double-Blind Study of GT267-004 Versus Vancomycin, and GT267-004 Versus
               Metronidazole, in Patients With C.Difficile - Associated Diarrhea: Genzyme; Clinical trial; site
               primary investigator: 9/15/05 – 11/15/06

                 Protocol No: 1263-301, A Randomized, Double-Blind Study to Assess the
                 Efficacy and Safety of Prophylactic use of Maribavir Versus Oral Ganciclovir for
                 the Prevention of Cytomegalovirus Disease in Recipients of Orthotopic Liver
                 Transplants: Viropharma; Clinical trial; site primary investigator: 9/15/07 – 9/14/09

                 Development and Validation of a Clostridium difficile-Associated Disease Risk Index: (PI:
                 Dubberke) – Barnes-Jewish Hospital Foundation, Investigator initiated 4/01/07 – 3/31/09; PI
                                                                                                                11
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Erik Richard Dubberke, MD, MSPH


                 Prospective Observational Study of Nosocomial Clostridium difficile Toxin Antibody
                 Concentrations, Incidence, and Recurrence. Merck; Clinical trial, site Primary Investigator, Co-
                 designed study: 1/15/09 – 1/14/12

                 A Phase 2, Randomized, Double-Blind, Placebo-Controlled, Dose-Ranging Study to Assess the
                 Safety and Efficacy of VP 20621 For Prevention of Recurrence of Clostridium difficile Infection
                 (CDI) in Adults Previously Treated for CDI. Viropharma. Clinical trial, Site PI: 8/1/11 – 11/30/12

                 A Phase 2, Open-label Clinical Trial Demonstrating the Safety of RBX2660 Microbiota
                 Suspension for the Treatment of Recurrent Clostridium difficile-associated Diarrhea. Rebiotix,
                 Clinical trial, Site PI: 9/1/13 to 7/31/14

                 Effectiveness of Provodine and Provodine T to Prevent and Remove Clostridium difficile Spore
                 Hand Contamination. Microdermis. Investigator initiated, PI 12/12/13 – 7/31/15

                 Risk factors and Outcomes of Recurrent Clostridium difficile infection. Optimer. Invetigator
                 initiates, PI. 10/20/10 – 12/15/14

                 Epidemiology, Risk Factors, and Outcomes of Clostridium difficile Infection in Medicare and
                 Hospitalized Patients. Sanofi Pasture. Investigator initiated, PI. 12/21/12 – 5/20/15

                 A Phase III, Randomized, Double-Blind, Placebo-Controlled, Adaptive Design Study of the
                 Efficacy, Safety, and Tolerability of a Single Infusion of MK-3415 (Human Monoclonal Antibody
                 to Clostridium difficile toxin A), MK-6072 (Human Monoclonal Antibody to Clostridium difficile
                 toxin B), and MK-3415A (Human Monoclonal Antibodies to Clostridium difficile toxin A and toxin
                 B) in Patients Receiving Antibiotic Therapy for Clostridium difficile Infection. Merck. Site PI.
                 11/1/12 – 2/28/15

                 DEFLECT-1: A Phase 3b Multi-Center, Double-Blind, Randomized, Placebo Controlled Study to
                 Demonstrate the Safety and Efficacy of Fidaxomicin for Prophylaxis against Clostridium difficile-
                 Associated Diarrhea in Adults Undergoing Hematopoietic Stem Cell Transplantation. Optimer.
                 Site PI. 2/1/13 to 6/15/15

                 A Phase 2B Prospective, Randomized, Double-blinded, Placebo-controlled Clinical Study
                 Demonstrating the Efficacy and Safety of Rebiotix RBX2660 (microbiota suspension) for the
                 Treatment of Recurrent Clostridium difficile Infection. Rebiotix. Study site PI. 11/1/14 to present

                 Effect of Limiting Sequential Clostridium difficile Testing on Patient Care Outcomes. The
                 Foundation for Barnes-Jewish Hospital. PI. 7/1/14 to 6/30/16

                 Analysis of the Health Care Utilization and Trajectory Before and After Clostridium difficile
                 Infection. Sanofi-Pasteur. PI. 8/20/14 – 11/28/17

                 Epidemiology of Clostridium difficile Infection in Japan. Sanofi-Pasteur. PI 10/6/15 to present

             b. Current support
                Administrative database analyses to determine the incidence and outcomes of Clostridium
                difficile infection and impact of a CDI vaccine. Pfizer. PI. 11/2017-present

                 Phase 1b/2a Evaluation of the Safety and Tolerability of SYN-004 in Adult Allogeneic
                 Hematopoietic Cell Transplantation Recipients. Synthetic Biologics. PI. 08/2019-present


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Curriculum Vitae
Erik Richard Dubberke, MD, MSPH


CLINICAL TITLES AND RESPONSIBILITIES
2003-2007              Faculty Lecturer, St. Louis STD/HIV Prevention Training Center, Washington
                       University School of Medicine
2004-2013              Medical Attending, John Cochran Veterans Administration Hospital, St. Louis,
                       MO (current status: WOC)
2005-Present           Associate Hospital Epidemiologist, Transplant and Oncology Units, C. difficile,
                       Barnes-Jewish Hospital, St. Louis, MO
2005-Present           Medical Director, Infection Control, Missouri Baptist Medical Center, St. Louis,
                       MO
2005-Present           Attending Physician, Barnes-Jewish Hospital
2007                   Interim Medical Director, Sexually Transmitted Disease Clinic, St. Louis County
2005-Present           Clinical Director, Transplant Infectious Diseases: Developed inpatient consult
                       service, outpatient clinic, and teaching curriculum; Member of BJH Transplant
                       Steering Committee

TEACHING TITLES AND RESPONSIBILITIES
WUSM III/IV, Resident, and Fellow training
2005-Present                Outpatient Transplant Infectious Diseases Clinic Attending
2005-Present                Inpatient Transplant Infectious Diseases Service Attending
2006-Present                Lecturer, Infectious Diseases Core Curriculum Series: Topics covered – VRE, C.
                            difficile, infections in stem cell transplant recipients, infections in solid organ
                            transplant recipients

WUSM I and II Courses
2000-2003                         Small group leader. Practice of Medicine. Clinical Skills
2002-Present                      Small group leader, Infectious Diseases Course
2003-Present                      Small group leader, Practice of Medicine. Infection Control
2004-2007                         Small group leader. Practice of Medicine. History and Physical
2006-2017                         Lecturer, Infectious Diseases Course, WUSM II - Non-HIV Immunocompromised
                                  Hosts
2007-2010                         Small group leader. Practice of Medicine. Scientific Methods

TRAINING / MENTEE RECORD
Current Trainees / Mentees
2014-Present               Jennie H. Kwon, DO, MSCI, assistant professor, infectious diseases division,
                           Washington University School of Medicine
2015-Present               Merilda Blanco Guzman, MD, instructor in medicine, infectious diseases division,
                           Washington University School of Medicine
2015-Present               Larry K. Kociolek, MD, MSCI, instructor in pediatrics, infectious diseases division,
                           Northwestern University
2017-Present               William McCoy, MD, PhD, instructor in medicine, dermatology division,
                           Washington University School of Medicine
2018-Present               Adriana Rauseo, MD, fellow, infectious diseases division, Washington University
                           School of Medicine


Past Trainees / Mentees
2006-2007                         Leticia Luz, MD, internal medicine resident, Barnes-Jewish Hospital
2009-2011                         Amelia Kasper, MD, MHS, internal medicine resident, Barnes-Jewish Hospital
2009-2011                         Linda Bobo, MD, PhD, infectious diseases fellow, Washington University School
                                  of Medicine
2010-2012                         Zhuolin (Julia) Han, MD, infectious diseases fellow, Washington University
                                  School of Medicine
                                                                                                              13
Curriculum Vitae
Erik Richard Dubberke, MD, MSPH
2011-2013                         Jonathan Baghdadi, MD, internal medicine resident, Barnes-Jewish Hospital
2011-2014                         Faisal Al Asmari, MBBS, epidemiology fellow, Washington University School of
                                  Medicine
2014-2015                         Allison L. Nazinitsky, MD, infectious diseases fellow, Washington University
                                  School of Medicine

BIBLIOGRAPHY
Publications
   1.     Kumar GN, Dubberke E, Rodrigues AD, Roberts E, Dennisen JF. Identification of Cytochrome
          p450(s) Involved in the Human Liver Microsomal Metabolism of the Thromboxane A2 Inhibitor
          Seratrodast (ABT-73001). Drug Metab Dispos 1997 Jan; 25(1):110-5. PMCID: Not applicable
   2.     Dubberke E, Razavi B, Johnson R. Serretia marscecens necrotizing fasciitis in a Bone Marrow
          Transplant Patient. Infec Dis Clin Pract 2002; 11(1): 25-27 PMCID: Not applicable
   3.     Dubberke ER, Fraser V. Antibiotic Cycling and Other Strategies of Antibiotic Use in Slowing and
          Reversing Antibiotic Resistance. Infections in Medicine 2004; 21 (11): 544-56 PMCID: Not
          applicable
   4.     Khoury J, Dubberke ER, Devine SM. Fatal Case of Prothecosis in a Hematopoietic Stem Cell
          Transplant Recipient after Infliximab Treatment for Graft Versus Host Disease. Blood 2004; 103 (10):
          3414-5 PMCID: Not applicable
   5.     Dubberke ER, Fraser V. Strategies for Preventing and Reversing Antimicrobial Resistance: The Role
          of Antibiotic Cycling. Drug Benefit Trends 2005; 17 (2): 63-75 PMCID: Not applicable
   6.     Dubberke ER, Tu B, Rivet D, Storch G, Apisarnthanarak A, Schmidt R, Weiss S, Polish L. Acute
          Meningoencephalitis Caused by Adenovirus Serotype 26. J Neurovirol 2006; 12: 235-240. PMCID:
          Not applicable
   7.     Dubberke ER, Reske K, McDonald LC, Fraser VJ. ICD-9 Codes and Surveillance for Clostridium
          difficile-Associated Disease. Emerg Infect Dis. 2006; 12: 1576-1579 PMCID: PMC3290935
   8.     Dubberke ER, Hollands J, Georgantopolous P, Augustin K, DiPersio J, Mundy L, Khoury H.
          Vancomycin-Resistant Enterococcal Bloodstream Infections on a Hematopoietic Stem Cell Transplant
          Unit: Are the Sick Getting Sicker? Bone Marrow Transplant. 2006; 38: 813-819 PMCID: Not
          applicable
   9.     McMullen KM, Zack J, Coopersmith CM, Kollef M, Dubberke ER, Warren DK. The Use of
          Hypochlorite Solution to Lower Rates of Clostridium difficile-Associated Diarrhea. Infect Control Hosp
          Epidemiol. 2007; 28: 205-207 PMCID: Not applicable
   10. Dubberke ER, Sadhu J, Gatti R, Reske K, DiPersio J, Devine S, Fraser V. Severity of Clostridium
          difficile-Associated Disease in Allogeneic Stem Cell Transplant Recipients: Evaluation of a CDAD
          Grading Scale. Infect Control Hosp Epidemiol. 2007; 28: 208-211 PMCID: Not applicable
   11. McDonald LC, Coignard B, Dubberke ER, Song X. Recommendations for Surveillance of Clostridium
          difficile-Associated Disease. Infect Control Hosp Epidemiol. 2007; 28: 140-145 PMCID: Not
          applicable
   12. Dubberke ER, Reske KA, Noble-Wang J, Thompson A, Killgore G, Mayfield J, Camins B, Woeltje K,
          McDonald J, McDonald LC, Fraser VJ. Prevalence of Clostridim difficile Environmental Contamination
          and Strain Variability in Multiple Healthcare Facilities. Am J Infect Control. 2007; 35: 315-8. PMCID:
          Not applicable
   13. Rodemann JF, Dubberke ER, Reske KA, Seo DH, Stone CD. Increasing Incidence of Clostridium
          difficile Infection in Inflammatory Bowel Disease. Clin Gastro and Hep. 2007; 5: 339-344. PMCID: Not
          applicable
   14. Dubberke ER, Reske KA, Olsen MA, McDonald LC, McMullen KM, Mayfield JL, Fraser VJ.
          Evaluation of “CDAD pressure” as a risk factor for Clostridium difficile-Associated Disease. Arch
          Intern Med. 2007; 167: 1092-1097. PMCID: Not applicable
   15. Lawrence SJ, Dubberke ER, Johnson S, Gerding D. Clostridium difficile-Associated Disease
          Treatment Response Depends on Definition of Cure. Clin Infect Dis. 2007; 45: 1648 PMCID: Not
          applicable


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Erik Richard Dubberke, MD, MSPH
    16.    Dubberke ER, Reske KA, Yan Y, McDonald LC, Fraser VJ. Clostridium difficile-Associated Disease
           in a Setting of Endemicity: Identification of Novel Risk Factors. Clin Infect Dis. 2007; 45: 1543-9.
           PMCID: Not applicable
    17.    Dubberke ER, Reske KA, Olsen MA, McDonald LC, Fraser VJ. Short and Long-Term Attributable
           Costs of Clostridium difficile-Associated Disease in Nonsurgical Inpatients. Clin Infect Dis. 2008;
           46:497-504. PMCID: Not applicable
    18.    Segal BH, Freifeld AG, Baden LR, Brown AE, Casper C, Dubberke ER, Gelfand M, Greene JN, Ison
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           Feb;6(2):122-74. PMCID: Not applicable
    19.    Fritz JM, Brielmaier BD, Dubberke ER. Micafungin for the prophylaxis and treatment of Candida
           infections. Expert Rev Anti Infect Ther. 2008 Apr;6(2):153-62. PMCID: Not applicable
    20.    Dubberke ER, Weil GJ. A woman from Honduras with a painful forearm and fever. Am J Trop Med
           Hyg. 2008 May;78(5):697-8. PMCID: Not applicable
    21.    Dubberke ER, Butler AM, Reske KA, Agniel D, Olsen MA, D’Angelo G, McDonald LC, Fraser VJ.
           Attributable Outcomes of Endemic Clostridium difficile-Associated Disease in Nonsurgical Patients.
           Emerg Infect Dis. 2008; 14 (7):1031-8. PMCID: PMC2600322
    22.    Dubberke ER, Sadhu J, Gatti R, Reske K, DiPersio J, Devine S, Fraser V. Reply to Jaber et al. Infect
           Control Hosp Epidemiol. 2008; 29: 189-90. PMCID: Not applicable
    23.    Riddle DJ, Dubberke ER. Clostridium difficile Infection in Solid Organ Transplant Recipients. Curr
           Opin Organ Transplant. 2008; 13: 592-600. PMCID: Not applicable
    24.    Dubberke ER, Reske KA, yan Y, Olsen MA, Fraser VJ. Reply to Goorhuis et al. Clostridium difficile-
           Associated Disease (CDAD) Pressure: A Better Measure of CDAD Exposure than Length of Stay or
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           Coffin SE, Fraser V, Griffin FA, Gross P, Kaye KS, Klompas M, Lo E, Marschall J, Mermel LA, Nicolle
           L, Pegues DA, Perl TM, Saint S, Salgado C, Weinstein RA, Wise R, Yokoe DS. Implementation
           Strategies for Prevention and Monitoring of Clostridium difficile-Associated Disease in Acute Care
           Hospitals. Infect Control Hosp Epidemiol. 2008; Suppl 1: S81-92. PMCID: Not applicable
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           Infections in Acute Care Hospitals. Infect Control Hosp Epidemiol. 2008; Suppl 1: S22-30. PMCID:
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           LA, Pegues DA, Perl TM, Saint S, Salgado C, Weinstein RA, Wise R, Yokoe DS. Implementation
           Strategies for the Prevention and Monitoring of Catheter-Associated Urinary Tract Infections in Acute
           Care Hospitals. Infect Control Hosp Epidemiol. 2008; Suppl 1: S41-50 PMCID: Not applicable
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           Strategies for Prevention and Monitoring of Methicillin-Resistant Staphylococcus aureus in Acute
           Care Hospitals. Infect Control Hosp Epidemiol.2008; Suppl 1: S62-80. PMCID: Not applicable
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           Control Hosp Epidemiol. 2008; Suppl 1: S51-61. PMCID: Not applicable
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           Nicolle L, Pegues DA, Perl TM, Saint S, Salgado C, Weinstein RA, Wise R, Yokoe DS.

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Erik Richard Dubberke, MD, MSPH
           Implementation Strategies for the Prevention and Monitoring of Ventilator-Associated Pneumonia in
           Acute-Care Hospitals. Infect Control Hosp Epidemiol. 2008; Suppl 1: S31-40. PMCID: Not applicable
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           Blumberg E, Julia MB, Humar A, Houston S, Lass-Florl C, Johnson L, Dubberke ER, Barron MA,
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Erik Richard Dubberke, MD, MSPH
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EXHIBIT B
Erik Dubberke, list of cases testified, 2015-2019

 Case        Law Firm      Type of        Side        Year
                           Case                       testified
 Corso v     Hepler
 Bormes      Broom         Malpractice    Defendant      2015
             Haden
 Sams v      Cowherd
 Mercy       Bullock       Malpractice    Defendant      2016
             Sandber
             Phoenix
 Rausch v    and von
 SAMC        Gontard       Malpractice    Defendant      2016
             Haden
 Hunt v      Cowherd
 Jenkins     Bullock       Malpractice    Defendant      2017
             Jackson
 Krawetzki   and
 v Osborn    Campbell      Malpractice    Defendant      2018
             Swanson,
 Gust v      Martin and
 Rush        Bell          Malpractice    Defendant      2019
 Cameron
 v Mobile   Helmsing
 infirmary  Leach          Malpractice    Defendant      2019
            Marsh
            Rickard
 Stallworth Bryan          Malpractice    Plaintiff      2019
            Sandber
            Phoenix
 Harris v   and von
 Lange      Gontard        Malpractice    Defendant      2019
            Hodgkin
 Herman v Street
 Williams   Mepham         Malpractice    Defendant      2019
EXHIBIT 2
FORMS - FILED                                                                                     JULY 6, 2006
FROM: LARRY PODOSHEN, SENIOR ANALYST

                                                  COMMERCIAL PROPERTY                          LI-CF-2006-175

NEW ENDORSEMENTS FILED TO ADDRESS EXCLUSION OF
LOSS DUE TO VIRUS OR BACTERIA

This circular announces the submission of forms filings to address exclusion of loss
due to disease-causing agents such as viruses and bacteria.
BACKGROUND
              Commercial Property policies currently contain a pollution exclusion that encompasses
              contamination (in fact, uses the term contaminant in addition to other terminology). Although the
              pollution exclusion addresses contamination broadly, viral and bacterial contamination are specific
              types that appear to warrant particular attention at this point in time.

ISO ACTION
              We have submitted forms filing CF-2006-OVBEF in all ISO jurisdictions and recommended the
              filing to the independent bureaus in other jurisdictions. This filing introduces new endorsement
              CP 01 40 07 06 - Exclusion Of Loss Due To Virus Or Bacteria, which states that there is no coverage
              for loss or damage caused by or resulting from any virus, bacterium or other microorganism
              that induces or is capable of inducing physical distress, illness or disease.
              Note: In Alaska, District of Columbia, Louisiana*, New York and Puerto Rico, we have submitted
              a different version of this filing, containing new endorsement CP 01 75 07 06 in place of CP 01 40.
              The difference relates to lack of implementation of the mold exclusion that was implemented in
              other jurisdictions under a previous multistate filing.
              Both versions of CF-2006-OVBEF are attached to this circular.
              * In Louisiana, the filing was submitted as a recommendation to the Property Insurance Association
              of Louisiana (PIAL), the independent bureau with jurisdiction for submission of property filings.

PROPOSED EFFECTIVE DATE
              Filing CF-2006-OVBEF was submitted with a proposed effective date of January 1, 2007, in
              accordance with the applicable effective date rule of application in each state, with the exception of
              various states for which the insurer establishes its own effective date.
              Upon approval, we will announce the actual effective date and state-specific rule of effective date
              application for each state.




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                                                                                                     LI-CF-2006-175




RATING SOFTWARE IMPACT
                New attributes being introduced with this revision:
                •    A new form is being introduced.

CAUTION
                This filing has not yet been approved. If you print your own forms, do not go beyond the proof stage
                until we announce approval in a subsequent circular.

RELATED RULES REVISION
                We are announcing in a separate circular the filing of a corresponding rules revision. Please refer to
                the Reference(s) block for identification of that circular.

REFERENCE(S)
                LI-CF-2006-176 (7/6/06) - New Additional Rule Filed To Address Exclusion Of Loss Due To Virus
                Or Bacteria

ATTACHMENT(S)
                •    Multistate Forms Filing CF-2006-OVBEF
                •    State-specific version of Forms Filing CF-2006-OVBEF (Alaska, District of Columbia,
                     Louisiana, New York, Puerto Rico)
                We are sending these attachments only to recipients who asked to be put on the mailing list for
                attachments. If you need the attachments for this circular, contact your company’s circular
                coordinator.

PERSON(S) TO CONTACT
                If you have any questions concerning:
                •    the content of this circular, please contact:
                               Larry Podoshen
                               Senior Analyst
                               Commercial Property
                               (201) 469-2597              Fax: (201) 748-1637
                               comfal@iso.com
                               lpodoshen@iso.com
                                                      or
                               Loretta Newman, CPCU
                               Manager
                               Commercial Property
                               (201) 469-2582       Fax: (201) 748-1873
                               comfal@iso.com
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FORMS FILING CF-2006-OVBEF



       Amendatory Endorsement -
    Exclusion Of Loss Due To Virus Or
                 Bacteria
About This Filing
                    This filing addresses exclusion of loss due to disease-causing agents such as
                    viruses and bacteria.

New Form
                    We are introducing:
                    ♦ Endorsement CP 01 40 07 06 - Exclusion Of Loss Due To Virus Or Bacteria


Related Filing(s)
                    Rules Filing CF-2006- OVBER


Introduction
                    The current pollution exclusion in property policies encompasses contamination
                    (in fact, uses the term contaminant in addition to other terminology). Although
                    the pollution exclusion addresses contamination broadly, viral and bacterial
                    contamination are specific types that appear to warrant particular attention at this
                    point in time.
                    An example of bacterial contamination of a product is the growth of listeria
                    bacteria in milk. In this example, bacteria develop and multiply due in part to
                    inherent qualities in the property itself. Some other examples of viral and
                    bacterial contaminants are rotavirus, SARS, influenza (such as avian flu),
                    legionella and anthrax. The universe of disease-causing organisms is always in
                    evolution.
                    Disease-causing agents may render a product impure (change its quality or
                    substance), or enable the spread of disease by their presence on interior building
                    surfaces or the surfaces of personal property. When disease-causing viral or
                    bacterial contamination occurs, potential claims involve the cost of replacement
                    of property (for example, the milk), cost of decontamination (for example,
                    interior building surfaces), and business interruption (time element) losses.




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Current Concerns
                    Although building and personal property could arguably become contaminated
                    (often temporarily) by such viruses and bacteria, the nature of the property itself
                    would have a bearing on whether there is actual property damage. An allegation
                    of property damage may be a point of disagreement in a particular case. In
                    addition, pollution exclusions are at times narrowly applied by certain courts. In
                    recent years, ISO has filed exclusions to address specific exposures relating to
                    contaminating or harmful substances. Examples are the mold exclusion in
                    property and liability policies and the liability exclusion addressing silica dust.
                    Such exclusions enable elaboration of the specific exposure and thereby can
                    reduce the likelihood of claim disputes and litigation.
                    While property policies have not been a source of recovery for losses involving
                    contamination by disease-causing agents, the specter of pandemic or hitherto
                    unorthodox transmission of infectious material raises the concern that insurers
                    employing such policies may face claims in which there are efforts to expand
                    coverage and to create sources of recovery for such losses, contrary to policy
                    intent.
                    In light of these concerns, we are presenting an exclusion relating to
                    contamination by disease-causing viruses or bacteria or other disease-causing
                    microorganisms.


Features Of New Amendatory Endorsement
                    The amendatory endorsement presented in this filing states that there is no
                    coverage for loss or damage caused by or resulting from any virus,
                    bacterium or other microorganism that induces or is capable of inducing
                    physical distress, illness or disease. The exclusion (which is set forth in
                    Paragraph B of the endorsement) applies to property damage, time element and
                    all other coverages; introductory Paragraph A prominently makes that point.
                    Paragraphs C and D serve to avoid overlap with other exclusions, and Paragraph
                    E emphasizes that other policy exclusions may still apply.


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                                                                                            CP 01 40 07 06

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART
   STANDARD PROPERTY POLICY

A. The exclusion set forth in Paragraph B. applies to     D. The following provisions in this Coverage Part or
   all coverage under all forms and endorsements             Policy are hereby amended to remove reference
   that comprise this Coverage Part or Policy, includ-       to bacteria:
   ing but not limited to forms or endorsements that         1. Exclusion of "Fungus", Wet Rot, Dry Rot And
   cover property damage to buildings or personal                Bacteria; and
   property and forms or endorsements that cover
   business income, extra expense or action of civil         2. Additional Coverage - Limited Coverage for
   authority.
B. We will not pay for loss or damage caused by or
                                                                 "Fungus", Wet Rot, Dry Rot And Bacteria, in-
                                                                 cluding any endorsement increasing the scope          N
                                                                 or amount of coverage.
   resulting from any virus, bacterium or other micro-
   organism that induces or is capable of inducing        E. The terms of the exclusion in Paragraph B., or the
   physical distress, illness or disease.                    inapplicability of this exclusion to a particular loss,
   However, this exclusion does not apply to loss or
   damage caused by or resulting from "fungus", wet
                                                             do not serve to create coverage for any loss that
                                                             would otherwise be excluded under this Coverage
                                                             Part or Policy.
                                                                                                                       E
   rot or dry rot. Such loss or damage is addressed in
   a separate exclusion in this Coverage Part or Pol-
   icy.
C. With respect to any loss or damage subject to the
   exclusion in Paragraph B., such exclusion super-
                                                                                                                       W
   sedes any exclusion relating to "pollutants".




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       Amendatory Endorsement -
    Exclusion Of Loss Due To Virus Or
                 Bacteria
About This Filing
                    This filing addresses exclusion of loss due to disease-causing agents such as
                    viruses and bacteria.

New Form
                    We are introducing:
                    ♦ Endorsement CP 01 75 07 06 - Exclusion Of Loss Due To Virus Or Bacteria


Related Filing(s)
                    Rules Filing CF-2006-OVBER


Introduction
                    The current pollution exclusion in property policies encompasses contamination
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                    the pollution exclusion addresses contamination broadly, viral and bacterial
                    contamination are specific types that appear to warrant particular attention at this
                    point in time.
                    An example of bacterial contamination of a product is the growth of listeria
                    bacteria in milk. In this example, bacteria develop and multiply due in part to
                    inherent qualities in the property itself. Some other examples of viral and
                    bacterial contaminants are rotavirus, SARS, influenza (such as avian flu),
                    legionella and anthrax. The universe of disease-causing organisms is always in
                    evolution.
                    Disease-causing agents may render a product impure (change its quality or
                    substance), or enable the spread of disease by their presence on interior building
                    surfaces or the surfaces of personal property. When disease-causing viral or
                    bacterial contamination occurs, potential claims involve the cost of replacement




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                    of property (for example, the milk), cost of decontamination (for example,
                    interior building surfaces), and business interruption (time element) losses.


Current Concerns
                    Although building and personal property could arguably become contaminated
                    (often temporarily) by such viruses and bacteria, the nature of the property itself
                    would have a bearing on whether there is actual property damage. An allegation
                    of property damage may be a point of disagreement in a particular case. In
                    addition, pollution exclusions are at times narrowly applied by certain courts. In
                    recent years, ISO has filed exclusions to address specific exposures relating to
                    contaminating or harmful substances. Examples are the mold exclusion in
                    property and liability policies and the liability exclusion addressing silica dust.
                    Such exclusions enable elaboration of the specific exposure and thereby can
                    reduce the likelihood of claim disputes and litigation.
                    While property policies have not been a source of recovery for losses involving
                    contamination by disease-causing agents, the specter of pandemic or hitherto
                    unorthodox transmission of infectious material raises the concern that insurers
                    employing such policies may face claims in which there are efforts to expand
                    coverage and to create sources of recovery for such losses, contrary to policy
                    intent.
                    In light of these concerns, we are presenting an exclusion relating to
                    contamination by disease-causing viruses or bacteria or other disease-causing
                    microorganisms.


Features Of New Amendatory Endorsement
                    The amendatory endorsement presented in this filing states that there is no
                    coverage for loss or damage caused by or resulting from any virus,
                    bacterium or other microorganism that induces or is capable of inducing
                    physical distress, illness or disease. The exclusion (which is set forth in
                    Paragraph B of the endorsement) applies to property damage, time element and
                    all other coverages; introductory Paragraph A prominently makes that point.
                    Paragraph C serves to avoid overlap with another exclusion, and Paragraph D
                    emphasizes that other policy exclusions may still apply.


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                                                                                            CP 01 75 07 06

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART
   STANDARD PROPERTY POLICY

A. The exclusion set forth in Paragraph B. applies to     C. With respect to any loss or damage subject to the
   all coverage under all forms and endorsements             exclusion in Paragraph B., such exclusion super-
   that comprise this Coverage Part or Policy, includ-       sedes any exclusion relating to "pollutants".
   ing but not limited to forms or endorsements that      D. The terms of the exclusion in Paragraph B., or the
   cover property damage to buildings or personal            inapplicability of this exclusion to a particular loss,
   property and forms or endorsements that cover             do not serve to create coverage for any loss that
   business income, extra expense or action of civil         would otherwise be excluded under this Coverage
   authority.
B. We will not pay for loss or damage caused by or
                                                             Part or Policy.                                           N
   resulting from any virus, bacterium or other micro-
   organism that induces or is capable of inducing
   physical distress, illness or disease.
   However, this exclusion does not apply to loss or
   damage caused by or resulting from fungus. Such
                                                                                                                       E
   loss or damage is addressed in a separate exclu-
   sion in this Coverage Part or Policy.

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